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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:14CR144
                                            )
             Plaintiff,                     )
                                            )                     ORDER
             vs.                            )
                                            )
NICOLE M. WITBECK,                          )
                                            )
             Defendant.                     )


      This matter is before the Court on the government’s Motion For Dismissal (Filing No.

52). Under Federal Rule of Criminal Procedure 48(a), leave of court is granted for the

dismissal of the Indictment (Filing No. 1), without prejudice, against the above-named

Defendant.

      IT IS ORDERED that:

      1.     The government’s Motion For Dismissal (Filing No. 52) is granted without

             prejudice; and

      2.     The Defendant’s Motion to Suppress Stop, Detention, Search and

             Statements (Filing No. 25) is denied as moot;

      3.     The hearing regarding the Motion to Suppress (Filing No. 25) is cancelled.

      DATED this 19th day of February, 2015.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
